
15 So.3d 657 (2009)
Cowell Nemoy BROWN, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-683.
District Court of Appeal of Florida, Fifth District.
June 23, 2009.
*658 Cowell N. Brown, Lake City, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Richardson v. State, 918 So.2d 999 (Fla. 5th DCA 2006).
GRIFFIN, SAWAYA and MONACO, JJ., concur.
